             Case 5:16-cr-00519-LHK Document 333 Filed 06/30/21 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA


                                         CRIMINAL MINUTES

 Date: June 30, 2021              Time: 9:24 AM – 10:43 AM           Judge: LUCY H. KOH
                                  (1 hour, 19 minutes)

 Case No.: 16-cr-00519-           Case Name: UNITED STATES v. Johnny Ray Wolfenbarger (P)(C:N)
 LHK-1

Attorney for Plaintiff: Marissa Harris and Maia Perez
Attorney for Defendant: Severa Keith

  Deputy Clerk: Kassandra Dibble                        Court Reporter: Ana Dub (9:24 AM – 10:29 AM);
                                                        Recorded 10:30 AM – 10:43 AM
  Interpreter: None requested                           Probation Officer: N/A


                                             PROCEEDINGS

Status Conference held via Zoom videoconference remotely. All parties, including Defendant
Wolfenbarger, appeared via videoconference. Defendant was present and out of custody.

The Court shortened the August 6, 2021 jury trial from eight days to six days. Trial will be held on
August 6, 9, 10, 11, 12, and 13, 2021. Trial will take place from 9:00 a.m. to 4:30 p.m. each day. Each
side will have 20 minutes for attorney voir dire for each batch of 50 jurors. 12 jurors and 3 alternates
will be selected.

By July 2, 2021, the parties shall file a brief joint description of the case. By July 14, 2021, the parties
shall email in Microsoft Word version to lhkpo@cand.uscourts.gov and file joint proposed preliminary
jury instructions, joint proposed final jury instructions, and a joint proposed verdict form. By July 21,
2021, the parties shall file their final witness lists and exhibit lists.

The Court set a discovery completion deadline for both parties on July 16, 2021. The parties shall meet
and confer regarding any disputes by July 23, 2021. The parties shall file any stipulations by July 26,
2021.

The parties may file up to two motions in limine of no more than two pages each by July 26, 2021. Any
oppositions are due by July 27, 2021. Oppositions must be no more than two pages each.

The Court will hold a Further Status Conference on Wednesday, July 30, 2021 at 9:15 a.m. via Zoom
videoconference remotely.
            Case 5:16-cr-00519-LHK Document 333 Filed 06/30/21 Page 2 of 2




By August 2, 2021, the Court will propose hardship and cause excusals based on the jury questionnaire
responses. The parties shall file responses either consenting or objecting to the Court’s proposals by
August 3, 2021. On Wednesday, August 4, 2021 at 2:00 p.m., the Court will hold a jury selection
conference to discuss remaining cause and hardship excusals. The August 4, 2021 jury selection
conference will be held in-person in Courtroom 8, 4th Floor of the San Jose Courthouse. Following the
jury selection conference, the parties shall have a technology courtroom walkthrough with the
Courtroom Deputy.

The Court previously made excludable time findings through the trial date of August 6, 2021. See ECF
No. 319.
